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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 21-80048-CIV-REINHART


  MASTIN SNEAD,

                          Plaintiff,

  v.


  626 AWI LLC, et al.,

                          Defendants.
                                                   /


       ORDER APPROVING SETTLEMENT AGREEMENT, DISMISSING COMPLAINT
                     WITH PREJUDICE, AND CLOSING CASE

          THIS CAUSE is before the Court upon the parties’ Joint Motion Requesting Order

  Approving Settlement Agreement and to Dismiss Lawsuit with Prejudice (“Joint Motion”). ECF

  No. 47. The Court conducted a fairness hearing on June 24, 2021. Pursuant to the FLSA

  Settlement Agreement reached between the parties, and reviewed by the Court in camera, it is

  ORDERED AND ADJUDGED as follows:


       1. After careful consideration of the settlement agreement, the Court finds that it represents a

          fair and reasonable resolution of the parties’ bona fide FLSA suit. Lynn’s Food Stores,

          Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982).

       2. The parties’ Joint Motion (DE 47) is GRANTED.

       3. The parties’ FLSA Settlement Agreement is hereby APPROVED.

       4. This case is DISMISSED WITH PREJUDICE, with the Court retaining jurisdiction to

          enforce the parties’ FLSA Settlement Agreement for a period of 30 days.
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     5. Any and all pending motions are hereby DENIED AS MOOT; the Clerk of Court shall

        CLOSE THIS CASE.


  DONE AND ORDERED, in Chambers at West Palm Beach, Florida this 24th day of June, 2021.




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                                         BRUCE REINHART
                                         UNITED STATES MAGISTRATE JUDGE
